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                                                      Friday, 11 February, 2022 04:31:58 PM
                                                               Clerk, U.S. District Court, ILCD




       EXHIBIT A
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              IN THE CIRCUIT COURT OF MORGAN COUNTY, ILLINOIS

 NATHANIEL TIMMONS, individually and on
 behalf of himself all others similarly situated,          Case No. 2021L26
         Plaintiff
                                                                                        FILED
                                                                                    12/29/2021 10:36 AM
         V.                                                                           AMY SIPES
                                                                               CLERK OF THE CIRCUIT COURT
 LYTX, INC., a Delaware corporation, and                                        MORGAN COUNTY, ILLINOIS
 GEMINI MOTOR TRANSPORT, L.P, an                           Jury Trial Demanded
 Oklahoma company

         Defendants.


                                CLASS ACTION COMPLAINT

       Plaintiff Nathaniel Timmons, individually and on behalf of all other persons similarly

situated, by and through his attorneys, brings this Class Action Complaint for violations of the

Illinois Biometric Information Privacy Act ("BIPA"), 740 ILCS 14/1 et seq., against Defendants

Lytx, Inc. ("Lytx") and Gemini Motor Transport, L.P. ("GMT," and collectively with Lytx,

"Defendants") and alleges on personal knowledge, due investigation of his counsel, and, where

indicated, on information and belief as follows:

                                  NATURE OF THE ACTION

       1.      Lytx is a technology company that provides facial recognition software and sensors

to monitor and manage drivers of commercial fleets and industrial operations. Its business model

relies on identifying and capturing the actions of its customers' drivers to monitor their fatigue and

level of distraction by placing a camera on them.

       2.      GMP is a nationwide for-hire fuel and specialty products motor carrier

headquartered in Oklahoma City, Oklahoma. It operates more than 1,050 trucks and employs

approximately 1,200 drivers across the United States. It installed driver-facing Lytx cameras to

monitor its employees as early as in 2020.




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       3.       These actions violate BIPA which forbids Defendants from collecting, storing, and

using Plaintiff's and other similarly situated individuals' biometric identifiers' and biometric

information2 (collectively, "biometrics") without obtaining informed written consent or providing

the requisite data retention and destruction policies.

       4.      Plaintiff did not provide any consent, let alone informed written consent, and

Defendants do not appear to provide any of BIPA's requisite public-facing data retention and

destruction policies.

       5.       The Illinois Legislature codified within BIPA that "[b]iometrics are unlike other

unique identifiers that are used to access finances or other sensitive information." 740 ILCS

14/5(c). "For example, social security numbers, when compromised, can be changed. Biometrics,

however, are biologically unique to the individual; therefore, once compromised, the individual

has no recourse, is at heightened risk for identity theft, and is likely to withdraw from biometric-

facilitated transactions." Id.

       6.       To protect the public from these risks and serve the "public welfare, security, and

safety," 740 ILCS 14/5(g), the Illinois Legislature enacted BIPA.

       7.      Notwithstanding BIPA's straightforward requirements, Defendants disregard

Plaintiff's and other similarly situated individuals' statutory rights when Defendants obtain and

possess their information without informing them in writing that biometric identifiers or

information will be collected or stored. See 740 ILCS 14/15(b).

       8.      Defendants further violate Plaintiff's and other similarly situated individuals' rights



        "Biometric identifier" means "a retina or iris scan, fingerprint, voiceprint, or scan of hand
or face geometry." 740 ILCS 14/10.
2
        "Biometric information" is "any information regardless of how it is captured, converted,
stored or shared, based on an individual's biometric identifier used to identify an individual." 740
ILCS 14/10.


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when they fail to inform them in writing of the specific purpose and length of term for which they

would collect, store, and use the biometric identifiers and/or biometric information obtained from

Lytx's devices that were used to recognize their faces. See id.

        9.     Defendants also violate BIPA by failing, as private entities that collect biometrics,

to publicly publish their written retention schedules and guidelines for permanently destroying the

biometrics they collected. See 740 ILCS 14/15(a).

        10.    Finally, Defendants violate 740 ILCS 14/15(c) because when contract with one

another, and when Lytx contracts with other transportation companies, they profit from being able

to track Plaintiff's and similarly situated individuals' biometrics. See 740 ILCS 14/15(c).

                                             PARTIES

        11.    Plaintiff is, and has been at all relevant times, a resident and citizen of Jacksonville,

Illinois.

        12.    Defendant Lytx is a corporation organized and existing under the laws of the State

of Delaware and is headquartered in the State of California.

        13.    Defendant GMT is a limited partnership organized and existing under the laws of

the State of Oklahoma and is headquartered in Oklahoma.

                                 JURISDICTION AND VENUE

        14.    This Court has jurisdiction over Lytx pursuant to 735 ILCS 5/2-209 because Lytx

transacts in Illinois. Specifically, on information and belief, Lytx contracts with trucking

companies like Plaintiffs employer (GMT) to place monitoring system in their vehicles. Lytx

also advertises its customer relationships with Illinois entities to whom it also provides the at-issue

monitoring systems.

        15.    This Court has jurisdiction over GMT pursuant to 735 ILCS 5/2-209 because GMT




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                                              Ex. A, pg 3
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 transacts in Illinois. Specifically, on information and belief, GMT has drivers "across the United

 States," including in Illinois where Plaintiff worked for GMT, according to its website.

              16.    Further, the biometric collection in dispute in this action takes place from drivers

 within the State of Illinois.

              17.    Venue is proper in this Court pursuant to 735 ILCS 5/2-101(2) because this is the

 county in which the transaction, or some part thereof, occurred, including that Plaintiff's

 biometrics were collected in this County.

                                        FACTUAL BACKGROUND

I.         The Illinois Biometric Information Privacy Act.

              18.    In 2008, Illinois enacted BIPA due to the "very serious need [for] protections for

 the citizens of Illinois when it [comes to their] biometric information." Illinois House Transcript,

 2008 Reg. Sess. No. 276.

              19.    BIPA protects biometric identifiers, which include retina and iris scans, voiceprints,

 fingerprints, scans of hand geometry, and—most importantly here—scans of face geometry. See

 740 ILCS 14/10. It also protects biometric information, which is separately defined to include any

 information based on an individual's biometric identifier that is used to identify an individual. See

     Id.

              20.    BIPA makes it unlawful for a company to, inter (did, "collect, capture, purchase,

 receive through trade, or otherwise obtain a person's or a customer's biometric identifiers an&or

 biometric information, unless it first:

                     (1) informs the subject...in writing that a biometric identifier or biometric
              information is being collected or stored;

                      (2) informs the subject...in writing of the specific purpose and length of
              term for which a biometric identifier or biometric information is being collected,
              stored, and used; and



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              (3) receives a written release executed by the subject of the biometric
       identifier or biometric information or the subject's legally authorized
       representative."

740 ILCS 14/15 (b).

       21.     Section 15(a) of BIPA also provides:

       A private entity in possession of biometric identifiers or biometric information must
       develop a written policy, made available to the public, establishing a retention
       schedule and guidelines for permanently destroying biometric identifiers and
       biometric information when the initial purpose for collecting or obtaining such
       identifiers or information has been satisfied or within 3 years of the individual's
       last interaction with the private entity, whichever occurs first.

740 ILCS 14/15(a).

       22.     Section 15(c) of BIPA prohibits a private entity from "sell[ing], leas[ing], trad[ing],

or otherwise profit[ing] from a person's or a customer's biometric identifier or biometric

information." 740 ILCS 14/15(c). Further, to disclose, redisclose, or otherwise disseminate

biometric identifiers or biometric information, the entity must obtain the subject of the biometric

identifier or biometric information's consent. 740 ILCS 14/15(d)(1).

       23.     Altogether, BIPA protects individuals' biometric identifiers and biometric

information by requiring private entities to follow certain prerequisites to obtain consent before

they collect, send, transmit, or disclose the information.




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II.   Defendants Violate Illinois' Biometric Information Privacy Act.

                A. Defendants' Collection of Biometric Information

          24.      Defendants openly and intentionally violate BIPA. Lytx, as part of its business

  model, sells to and equips commercial freight truck companies like GMT with a driver

  monitoring system that monitors drivers who may be exhibiting signs of distraction.

          25.      In 2020, GMT, upon information and belief, installed Lytx cameras that

  monitored its drivers' faces in its fleet of trucks.

          26.      These cameras are known as "DriveCam" and are a product that Lytx offers

  which combines dash cam footage of drivers' faces and "machine vision and artificial

  intelligence" ("MVAI") to monitor whether drivers are engaging in distracted driving.

          27.      MVAI monitors drivers to "identify distraction and risk, both inside and outside

  of the vehicle, including cell phone use, eating or drinking, smoking, seat belt use, [and] general

  inattentiveness..."3 Lytx's application then provides voice alerts to the drivers to alert them to

  the perceived issue.

          28.      To accurately monitor drivers to determine whether they are using their cell

  phones, eating or drinking, smoking, wearing their seat belt, or paying attention, the MVAI

  necessarily must, as a tutorial video on its website states: "see and recognize" the driver's face

  (the machine vision) and "interpret and decide" (the artificial intelligence) whether he or she is

  engaging in distracted driving.4

          29.      In fact, Lytx states that its MVAI is "backed by a peerless database of commercial

  driving behaviors, representing more than 120 billion miles driven in all types of vehicles and




  3 https://www.lytx.com/en-us/about-us/our-technology/machine-vision-artificial-intelligence.
  4 https://www.lytx.comien-us/about-us/our-technologyimachine-vision-artificial-intelligence.



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                                                 Ex. A, pg 6
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road conditions—validated by professional analysts."5 Or, put differently, Lytx has had humans

review images of drivers' faces and behaviors, fed that information into the MVAI, and taught

the machine what is and is not relevant.

       30.     Thereafter, upon information and belief, when drivers like Plaintiff get behind the

wheel with a Lytx camera on them, the camera constantly scans their face, identifying relevant

portions of the driver's face, body, arms, etc. Using this information, coupled with its artificial

intelligence, the Lytx camera is able to determine what the driver is actually doing by looking at

his or her face. It can tell whether a driver is putting food into his or her mouth, or taking a sip

from a drink, or if his or her eyes are on a cellular telephone instead of the road. Each of these

actions relies on capturing the drivers' faces.

       31.     Upon information and belief, the "DriveCam" transmits its footage online and

Lytx provides its customers like GMT with a log-in so that they can monitor the video footage.'

       32.     Both Lytx and GMT profit from this arrangement. Further, Lytx uses the scans it

captures of drivers' faces to continuously educate its MVAI machine about what the human faces

are doing to determine what is and is not an action worth triggering an alert.

       33.     In doing so, Defendants' facial recognition technology captures, collects, stores,

and uses Plaintiff's and Class Members' biometric information—specifically their facial

geometry.

       34.     Lytx claims that it works with 4,000 clients and "1.3 million drivers across the

globe," claiming that their "devices capture 1.5 billion miles of driving data each month and




5https://www.lytx.com/en-us/about-us/our-technology/machine-vision-artificial-intelligence.
6https://www.lytx.com/en-us/fleet-management/dash-
cam? ga=2.170096608.1999871576.1640181938-1466546759.1640181938.


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                                              Ex. A, pg 7
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100,000 risky driving events every day."7

                B. Defendants Do Not Have Plaintiff and Class Members' Written Consent to
                   Collect Biometrics

          35.      BIPA protects the rights of Plaintiff and all other similarly situated drivers within

Illinois to know and consent to the collection and storage of biometrics, and a right to know how

long such risks will persist after termination of their employment. 740 ILCS 14/15(b).

          36.      Through the scanning of drivers' faces with its facial recognition technology,

Defendants collected the unique, permanent biometric identifiers and exposed drivers like Plaintiff

to irreversible privacy risks. If Defendants' database of digitized facial geometry were to fall into

the wrong hands, by data breach or otherwise, the individuals to whom these sensitive and

immutable biometric identifiers belong could have their identities stolen, among other serious

issues.

          37.      Yet, Defendants never adequately informed Plaintiff or the Class of their biometric

collection practices, never obtained the requisite written consent from Plaintiff or the Class

regarding their biometric practices, and never provided any data retention or destruction policies

to Plaintiff or the Class.

          38.      GMT never provided Plaintiff with any consent form when it installed the Lytx

technology in 2020.

                C. Defendants Do Not Maintain Publicly Available Retention and Destruction
                   Guidelines

          39.      Private entities like Defendants who collect, capture, store, and use biometric

identifiers and biometric information are required to "develop a written policy, made available to

the public, establishing a retention schedule and guidelines for permanently destroying biometric



7   https://www.lytx.comien-us/about-us/our-technology.



                                                Ex. A, pg 8
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identifiers and biometric information..." 740 ICLS 14/15(a).

         40.      Upon information and belief, GMT does not have a public written policy

establishing a retention schedule and guidelines for permanent destruction of Plaintiff s and

similarly situated individuals' biometric information.

         41.      Further, Lytx does not have a public written policy establishing a retention schedule

and guidelines for permanent destruction. Instead, it takes the position that its MVAI does not

violate BIPA because it does not collect biometric data. But this is incorrect for all of the reasons

stated above.

               D. Defendants Profit from Collecting Biometrics

         42.      BIPA prohibits private entities from "sell[ing], leas[ing], trad[ing], or otherwise

profit[ing] from a person's or a customer's biometric identifier or biometric information." 740

ILCS I4/15(c).

         43.      Through its contracts with its transportation-industry customers, Lytx profited from

obtaining Plaintiff and Class Members' biometric identifiers and biometric information. Lytx touts

its business model by claiming that clients, like GMT, who use its services "can realize significant

returns on investment by lowering operative and insurance costs."8

         44.      Likewise, through its contract with Lytx, GMT profited from obtaining Plaintiff

and Class Members' biometric identifiers and biometric information through, upon information

and belief, the ability to lower its operative and insurance costs.




8   https://www.lytx.comien-us/about-us/our-story.


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                                               Ex. A, pg 9
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III. Named Plaintiff's Allegations

       45.     From roughly August 2015 to October 2020, Plaintiff Timmons worked as a driver

in Illinois for GMT.

       46.     Plaintiff is an Illinois resident and drove his truck for GMT within Illinois, a fact

that GMT and Lytx knew through its geolocation tracking of his truck.

       47.     In 2020, GMT installed a Lytx Drive Cam inside its fleet of trucks, including

Plaintiff's truck. Plaintiff drove his truck as part of his employment with the Lytx Drive Cam

positioned on his face.

       48.     During his employment, Defendants, upon information and belief, extracted

biometric identifiers from Plaintiff's face while he drove and stored them online for GMT to view.

Thereafter, the Lytx Camera automatically performed a facial recognition of him to identify him

by extracting biometric identifiers from his face again and comparing those biometric identifiers

against the previously extracted and stored biometric identifiers for a match.

       49.     GMT required Plaintiff to use Lytx's DriveCam.

       50.     Plaintiff never consented, agreed or gave permission—written or otherwise—to

Defendants for the collection or storage of his unique biometric identifiers or biometric

information.

       51.     Further, Defendants never provided Plaintiff with, nor did he ever sign, a written

release allowing Defendants to collect or store his unique biometric identifiers or biometric

information.

       52.     Likewise, Defendants never provided Plaintiff with the requisite statutory

disclosures nor an opportunity to prohibit or prevent the collection, storage, or use of his unique

biometric identifiers or biometric information.




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       53.     By collecting Plaintiff's unique biometric identifiers or biometric information

without his consent, written or otherwise, Defendants invaded Plaintiffs statutorily protected right

to privacy in his biometrics and profited from obtaining his biometrics.

       54.     Finally, Defendants never provided Plaintiff with a retention schedule and/or

guideline for permanently destroying his biometric identifiers and biometric information.

                                    CLASS ALLEGATIONS

       55.     Class Definition: Plaintiff brings this action pursuant to 735 ILCS 5/2-801 on

behalf of a class of similarly situated individuals, defined as follows (the "Classes"):

       Lytx Class: All individuals who, while present in the State of Illinois, had their
       biometric information and/or biometric identifiers, including their face geometry,
       collected, captured, used, transmitted, disseminated, stored or otherwise obtained
       by Lybc.

       GMT Class: All individuals who, while present in the State of Illinois, had their
       biometric information and/or biometric identifiers, including their face geometry,
       collected, captured, used, transmitted, disseminated, stored or otherwise obtained
       by GMT.

       56.     Numerosity: Pursuant to 735 ILCS 5/2-801(1), the number of persons within the

Classes is substantial, believed to amount to hundreds of persons, particularly given the number

of drivers that GMT employs and Lytx's claims that it has 4,000 customers and 1.3 million drivers

across the globe. It is, therefore, impractical to join each Class Member. Further, the size and

relatively modest value of the claims of the individual members of the Classes renders joinder

impractical. Accordingly, the class action mechanism is the most economically feasible means of

determining and adjudicating the merits of this litigation. Moreover, the Classes are ascertainable

and identifiable from Defendants' records.

       57.     Commonality and Predominance: Pursuant to 735 ILCS 5/2-801(2), there are

well-defined common questions of fact and law that exist as to all Class Members, and that




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predominate over any questions affecting only individual Class Members. These common legal

and factual questions do not vary across Class Members, and which may be determined without

reference to the individual circumstances of any individual. They, include, but are not limited to:

               (a) whether Defendants collected or otherwise obtained Plaintiff's and the
                   Class Members' biometric identifiers or biometric information;

               (b) whether Defendants properly informed Plaintiff and Class Members that
                   they collected, used, and stored their biometric identifiers or biometric
                   information;

               (c) whether Defendants obtained a written release (as defined in 740 ILCS
                   1410) to collect, use, and store Plaintiff's and Class Members' biometric
                   identifiers or biometric information;

               (d) whether Defendants developed a written policy, made available to the
                   public, establishing a retention schedule and guidelines for permanently
                   destroying biometric identifiers and biometric information when the
                   initial purpose for collecting or obtaining such identifiers or information
                   has been satisfied or within 3 years of their last interaction, whichever
                   occurs first;

               (e) whether Defendants used Plaintiff's and the Class Members' biometric
                   identifiers or biometric information to identify them;

               (f) whether Defendants sold, leased, traded, or profited from Plaintiff's and
                   Class Members' biometric identifiers or biometric information; and

               (g) whether Defendants' violations of BIPA were committed intentionally,
                   recklessly, or negligently.

       58.     Adequate Representation: Pursuant to 735 ILCS 5/2-801(3), Plaintiff has retained

and is represented by qualified and competent counsel who are highly experienced in complex

consumer class action litigation. Plaintiff and his counsel are committed to vigorously prosecuting

this class action. Moreover, Plaintiff is able to fairly and adequately represent and protect the

interests of the Classes. Neither Plaintiff nor his counsel has any interest adverse to, or in conflict

with, the interests of the absent members of the Classes. Plaintiff has raised viable statutory claims

of the type reasonably expected to be raised by members of the Classes, and will vigorously pursue



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those claims. If necessary, Plaintiff may seek leave of this Court to amend this Class Action

Complaint to include additional Class representatives to represent the Classes, additional claims

as may be appropriate, or to amend the Class definitions to address any steps that Defendants took.

       59.     Appropriateness: Pursuant to 735 ILCS 5/2-801(4), a class action is the

appropriate method for the fair and efficient adjudication of this controversy because individual

litigation of the claims of all Class Members is impracticable. Even if every Class Member could

afford to pursue individual litigation, the court system could not. It would be unduly burdensome

to the courts in which individual litigation of numerous cases would proceed. Individualized

litigation would also present the potential for varying, inconsistent or contradictory judgments,

and would magnify the delay and expense to all parties and to the court system resulting from

multiple trials of the same factual issues. By contrast, the maintenance of this action as a class

action, with respect to some or all of the issues presented herein, presents few management

difficulties, conserves the resources of the parties and of the court system and protects the rights

of each Class Member. Plaintiff anticipates no difficulty in the management of this action as a

class action. Class-wide relief is essential to compliance with BIPA.

                     COUNT I - FOR DAMAGES AGAINST DEFENDANTS
   VIOLATION OF 740 ILCS I4/15(a) — FAILURE TO INSTITUTE, MAINTAIN, AND ADHERE TO
                      PUBLICLY AVAILABLE RETENTION SCHEDULE
                      (ON BEHALF OF PLAINTIFF AND THE CLASSES)
                                (AGAINST LYTX AND GMT)

       60.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       61.     BIPA mandates that companies in possession of biometric data establish and

maintain a satisfactory biometric data retention—and, importantly, deletion—policy. Specifically,

those companies must: (i) make publicly available a written policy establishing a retention

schedule and guidelines for permanent deletion of biometric data (at most three years after the




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company's last interaction with the individual); and (ii) actually adhere to that retention schedule

and actually delete the biometric information. See 740 ILCS 14/15(a).

        62.    Defendants failed to comply with these BIPA mandates.

        63.    Lytx and GMT are "private entities" under BIPA. See 740 ILCS 14/10.

        64.     Plaintiff is an individual who had his "biometric identifiers" captured and/or

collected by Defendants, as explained in detail in above. See 740 ILCS 14/10.

        65.     Plaintiff's biometric identifiers were used to identify Plaintiff and, therefore,

constitute "biometric information" as defined by BIPA. See 740 ILCS 14/10.

        66.    Defendants failed to provide a publicly available retention schedule or guidelines

for permanently destroying biometric identifiers and biometric information as specified by BIPA.

See 740 ILCS 14/15(a).

        67.    Upon information and belief, GMT does not have a privacy policy or other publicly

available retention schedule.

        68.    Further, Lybes Privacy Policy, effective as of July 21, 2021, says that its Privacy

Policy "does not apply to the extent we process Personal Information in our role as a service

provider on behalf of our clients. For detailed privacy information related to a Lytx client's use

of Lytx website and Mobile App, please direct your inquiry to the respective client. We are not

responsible for the privacy or data security practices of our clients.. .."9

        69.    Upon information and belief, Defendants lacked retention schedules and guidelines

for permanently destroying Plaintiff's and Class Members' biometric data and have not and will

not destroy Plaintiff's and Class Members' biometric data when the initial purpose for collecting




9 https://www.lytx.conilen-us/privacy-policy    (emphasis in original).


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                                              Ex. A, pg 14
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or obtaining such data has been satisfied or within three years of the individual's last interaction

with the company.

       70.     On behalf of himself and the Classes, Plaintiff seeks: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Classes

by requiring Defendants to comply with BIPA' s requirements for the collection, capture, storage,

and use of biometric identifiers and biometric information as described herein pursuant to 740

ILCS 14/20(4); (3) liquidated damages of $5,000 for each intentional and/or reckless violation of

BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, liquidated damages of $1,000 for each

negligent violation of BIPA pursuant to 740 ILCS 14/20(1); and (4) reasonable attorneys' fees and

costs and other litigation expenses pursuant to 740 ILCS 14/20(3).

                   COUNT II- FOR DAMAGES AGAINST DEFENDANTS
VIOLATION OF 740 ILCS 14/15(b) — FAILURE TO OBTAIN INFORMED WRITTEN CONSENT AND
        RELEASE BEFORE OBTAINING BIOMETRIC IDENTIFIERS OR INFORMATION
                    (ON BEHALF OF PLAINTIFF AND THE CLASSES)
                               (AGAINST LYTX AND GMT)

       71.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       72.     BIPA requires companies to obtain informed written consent from persons before

acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity to

"collect, capture, purchase, receive through trade, or otherwise obtain a person's or a customer's

biometric identifiers or biometric information unless [the entity] first: (1) informs the subject...in

writing that a biometric identifier or biometric information is being collected or stored; (2) informs

the subject...in writing of the specific purpose and length of term for which a biometric identifier

or biometric information is being collected, stored, and used; and (3) receives a written release

executed by the subject of the biometric identifier or biometric information..." 740 ILCS 14/15(b)

(emphasis added).




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         73.   Defendants failed to comply with these BIPA mandates.

         74.   Lytx and GMT are "private entities" under BIPA. See 740 ILCS 14/10.

         75.   Plaintiff and Class Members are individuals who have had their "biometric

identifiers" collected and/or captured by Defendants, as explained in detail above. See 740 ILCS

14/10.

         76.   Plaintiffs and Class Members' biometric identifiers were used to identify them

and, therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS 14/10.

         77.   Defendants systematically and automatically collected, captured, used, and stored

Plaintiffs and Class Members' biometric identifiers and/or biometric information without first

obtaining the written release required by 740 ILCS 14/15(b)(3).

         78.   Defendants never informed Plaintiff, and never informed any Class Member, in

writing that their biometric identifiers and/or biometric information were being collected, captured,

stored, and/or used, nor did Defendants inform Plaintiff and the Class in writing of the specific

purpose(s) and length of term for which their biometric identifiers and/or biometric information

were being collected, stored, used and disseminated as required by 740 ILCS 14/15(b)(1)-(2).

         79.   By collecting, capturing, storing, and/or using Plaintiffs and Class Members'

biometric identifiers and biometric information as described herein, Defendants violated Plaintiffs

and Class Members' rights to privacy in their biometric identifiers and/or biometric information

as set forth in BIPA. See 740 ILCS 14/1, et seq.

         80.   On behalf of himself and the Classes, Plaintiff seeks: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and Class

Members by requiring Defendants to comply with BIPA's requirements for the collection,

captures, storage, use and dissemination of biometric identifiers and biometric information as




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described herein pursuant to 740 ILCS 14/20(4); (3) liquidated damages of $5,000 for each

intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative,

liquidated damages of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1);

and (4) reasonable attorneys' fees and costs and other litigation expenses pursuant to 740 ILCS

14/20(3).

                   COUNT III - FOR DAMAGES AGAINST DEFENDANTS
VIOLATION OF 740 ILCS I4/15(c) — BY PROFITING FROM PLAINTIFF'S AND CLASS MEMBERS'
                       BIOMETRIC IDENTIFIERS OR INFORMATION
                     (ON BEHALF OF PLAINTIFF AND THE CLASSES)
                               (AGAINST LYTX AND GMT)

       81.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       82.     BIPA prohibits a private entity from "sell[ing], leas[ingl, trad[ing], or otherwise

profit[ing] from a person's or a customer's biometric identifier or biometric information." See 740

ILCS I4/15(c).

       83.     Defendants fail to comply with this BIPA mandate.

       84.     Lytx and GMT are "private entities" under BIPA. See 740 ILCS 14/10.

       85.     Plaintiff is an individual who had his "biometric identifiers" captured and/or

collected by Defendants, as explained in detail in above. See 740 ILCS 14/10.

       86.     Plaintiffs biometric identifiers were used to identify Plaintiff and, therefore,

constitute "biometric information" as defined by BIPA. See 740 ILCS 14/10.

       87.     Defendants possess Plaintiff and Class Members' biometric identifiers and/or

biometric information.

       88.     Lytx profits from obtaining Plaintiff and Class Members' biometric identifiers

and/or biometric information because it uses its collection efforts to market and sell its products

and services to its client, like GMT.




                                                 17
                                            Ex. A, pg 17
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           89.      GMT profits from obtaining Plaintiff and Class Members' biometric identifiers

and/or biometric information because, upon information and belief, possessing this information

allows it to lower its operative and insurance costs.

           90.      By profiting from Plaintiff and Class Members' biometric identifiers and/or

biometric information, Defendants violated Plaintiff's and Class Members' rights to privacy in

their biometric identifiers and/or biometric information as set forth in BIPA. See 740 ILCS

14/10(c).

           91.      On behalf of himself and the Classes, Plaintiff seeks: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Classes

by requiring Defendants to comply with BIPA's requirements for the collection, captures, storage,

use and dissemination of biometric identifiers and biometric information as described herein

pursuant to 740 ILCS 14/20(4); (3) liquidated damages of $5,000 for each intentional and/or

reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, liquidated damages

of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1); and (4) reasonable

attorneys' fees and costs and other litigation expenses pursuant to 740 ILCS 14/20(3).

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Nathaniel Timmons, on behalf of himself and the proposed

Classes, respectfully requests that this Court enter an Order:

                 A. Certifying this case as a class action on behalf of the Classes defined above,

appointing Plaintiff as representative of the Classes, and appointing his counsel as Class Counsel;

                 B. Declaring that Defendants' actions, as set out above, violate BIPA, 740 ILCS 14/1,

et seq.;




                                                    18
                                                Ex. A, pg 18
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 20 of 36 PageID #:30




           C. Awarding liquidated damages of $5,000.00 for each and every intentional and/or

reckless violation of B1PA pursuant to 740 1LCS 14/20(2), or alternatively, liquidated damages of

$1,000.00 for each and every violation pursuant to 740 ILCS 14/20(1) if the Court finds that

Defendants' violations were negligent;

           D. Awarding injunctive and other equitable relief as is necessary to protect the

interests of the Classes, including, inter alia, an Order requiring Defendants to collect, store, and

use biometric identifiers ancllor biometric information in compliance with B1PA;

           E. Awarding Plaintiff and Class Members their reasonable attorneys' fees and costs

and other litigation expenses pursuant to 740 1LCS 14/20(3);

           F. Awarding Plaintiff and the Classes pre- and post-judgment interest, to the extent

allowable; and

           G. Awarding such other and further relief as equity and justice may require.

                                           JURY TRIAL

       Plaintiff demands a jury trial for all issues so triable.




                                                  19
                                             Ex. A, pg 19
  Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 21 of 36 PageID #:31




Dated: December 29, 2021          Respectfully submitted,

                                  NATHANIEL TIMMONS,
                                  individually and on behalf of all others
                                  similarly situated

                                  By: /s/Brandon M Wise
                                  Brandon M. Wise — IL Bar #6319580
                                  Paul A. Lesko — IL Bar # 6288806
                                  Adam Florek — IL Bar # 6320615
                                  PEIFFER WOLF CARR
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                                  818 Lafayette Ave., Floor 2
                                  St. Louis, MO 63104
                                  Ph: 314-833-4825
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                                  sl Gary M. Klinger
                                  Gary M. Klinger (IL Bar No. 6303726)
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                                  Sean A. Petterson (pro hac viceforthcoming)
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                                  New York, New York 10013
                                  Phone: 212-355-9500
                                  jlichtman@lchb.com
                                  spetterson@lchb.com

                                  Attorneys for Plaintiff and the Proposed Classes




                                       20
                                   Ex. A, pg 20
        Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 22 of 36 PageID #:32
A lb.


;_:_t CT Corporation                                                                                        Service of Process
                                                                                                            Transmittal
                                                                                                            01/12/2022
                                                                                                            CT Log Number 540869332
        TO:         Michael Guzman
                    Lytx, Inc.
                    9785 TOWNE CENTRE DR
                    SAN DIEGO, CA 92121-1968


        RE:         Process Served in Delaware

        FOR:        LYTX, INC. (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                                  NATHANIEL TIMMONS,individually and on behalfof himself all others similarly
                                                          situated vs. Lybc, Inc. and Gemini Motor Transport, L.P
        DOCUMENT(S) SERVED:

        COURT/AGENCY:                                     None Specified
                                                          Case # 2021L26
        ON WHOM PROCESS WAS SERVED:                       NRAI Services, LLC, Wilmington, DE
        DATE AND HOUR OF SERVICE:                         By Process Server on 01/12/2022 at 12:37
        JURISDICTION SERVED:                              Delaware
        APPEARANCE OR ANSWER DUE:                         None Specified
        ATTORNEY(S) / SENDER(S):                          None Specified
        ACTION ITEMS:                                     SOP Papers with Transmittal, via UPS Next Day Air

                                                          Image SOP

                                                          Email Notification, Patrick Shipley pshipley@lybc.com

                                                          Email Notification, Michael Guzman michael.guzman@lybc.com


        REGISTERED AGENT ADDRESS:                         National Registered Agents, Inc
                                                          1209 Orange Street
                                                          Wilmington, DE 19801
                                                          866-401-8252
                                                          EastTeam2@wolterskluwer.com
        The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
        relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
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        advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
        therein.




                                                                                                            Page 1 of 1 / KM




                                                                         Ex. A, pg 21
          Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 23 of 36 PageID #:33


                                                                       . Wolters Kluwer

                            PROCESS SERVER DELIVERY DETAILS




Date:                         Wed, Jan 12, 2022

Server Name:                  Rodney Samuels




Entity Served                 LYTX, INC.

Case Number                   2021126

Jurisdiction                  DE




   11111111111 111111111111111111111111111111111111111111111111111




                                               Ex. A, pg 22
             Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 24 of 36 PageID #:34



SERVICE
                                             abclegc 1II II11111 III III 0 I1II
                                                                                          81623134


       MAIL TO                                                 SERVE BY 02/06/2022
           Rodney Samuels
           810 E Basin Rd #H4
           New Castle, DE 19720


      ..


  SERVICE TO
  Lytx, Inc. - Serve: National Registered
  Agents c/o National Registered
  Agents, REGISTERED AGENT
  1209 North Orange Street
  Wilmington, DE 19801




       DOCUMENTS
       SUMMONS; CLASS ACTION COMPLAINT; JURY DEMAND; PLAINTIFF'S MOTION FOR
       CLASS CERTIFICATION AND REQUEST FOR DISCOVERY ON CERTIFICATION ISSUES




CUSTOMER Peiffer Wolf Carr Kane & Conway, LLC
REF REF-9419815                                                            Need help?
COURT IL Circuit Court for Morgan County                                  206-521-2967
CASE# 2021L26                                                             abclegal.com
TITLE NATHANIEL TIMMONS, individually and on behal... vs. LYTX, INC., a
Delaware corporation, and GEMI...              Ex. A, pg 23                              01/11/2022
               Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 25 of 36 PageID #:35
         This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.

         STATE OF ILLINOIS,
            CIRCUIT COURT
                                                              SUMMONS
   Morgan                  COUNTY

  Instructions N,
Enter above the
county name where
the case was filed.        Nathaniel Timmons, et al.
Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the names of all
people you are suing as    V.
Defendants/
Respondents.
Enter the Case             Lytx, Inc. and Gemini Motor Transport, L.P.                             2021L26
Number given by the        Defendant! Respondent (First, middle, last name)                         Case Number
Circuit Clerk.


In I, if your lawsuit is    1.    Information about the lawsuit:
for money, enter the                                 $ 50,000.00
                                  Amount claimed:
amount of money you
seek from the
Defendant/                  2.    Contact information for the Plaintiff/Petitioner:
Respondent.                       Name (First, Middle, Last): Brandon M. Wise, Attorney
In 2, enter your                  Street Address, Apt #: 818 Lafayette Ave., Floor 2
contact information.
                                  City, State, ZIP: St. Louis, MO 63104
If more than 1 person
is bringing this                  Telephone: (314) 833-4825
lawsuit, attach an                    See attached for additional Plaintiff/Petitioner contact information
Additional
Plaintiff/Petitioner
Contact Information         3.    Contact information for the Defendant/Respondent:
form.                             Name (First, Middle, Last): Lytx, Inc. Serve: National Registered Agents
In 3, enter the name of           Street Address, Apt #: 1209 Orange Street
the person you are                City, State, ZIP: Wilmington, DE 19801
suing and their
address.                          Telephone:
If more than 1 person is              See attached for additional Defendant/Respondent contact information
being sued, attach an
Additional
Defendant/Respondent
Contact Information
form.




                                     You have been sued.
                                     Follow the instructions on the next page on how to appear/answer.
                                          •    If you do not appear/answer the court may decide the case without hearing from you and
                                               enter a judgment against you for what the plantiff/petitioner is asking.
Important Information for the
person receiving this form:               •    Your written appearance/answer must be filed on time and in the proper form.
                                          •    Forms for a written appearance/answer are available here:
                                               http://www.illinoiscourts.gov/forms/approved/defaultasp
                                     If you cannot afford to pay the fee for filing your appearance/answer, ask the circuit clerk for an
                                     application for waiver of court fees.
                                     You should read all of the documents attached.




SU-S 1503.1                                                    Ex. A,1pg
                                                                Page   of 424                                                       (09/18)
               Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 26 of2021L26
                                                                              36 PageID #:36
                                                      Enter the Case Number given by the Circuit Clerk:

In 4, the Circuit Clerk   4.    Instructions for person receiving this form (Defendant/Respondent):
will give you the court
                                To respond to this Summons you must:
date or appearance
date, check any boxes           E     Go to court:
that apply, and include               On this date:                                at this time:                          a.m. El p.m.
the address of the
court building and                    Address:                                                        Court Room:
room where the                        City, State, ZIP:
Defendant/
Respondent must file
their response.
                                E     File a written Appearance and Answer/Response with the court:
                                      On or before this date:                      at this time:                      n a.m.    El p.m.
                                      Address:
                                      City, State, ZIP:

                                RI    File a written Appearance and Answer/Response with the court within 30 days from
                                      the day you receive this Summons (listed below as the "Date of Service").
                                      On this date:                    at this time:                                      a.m. El p.m.
                                      Address: Morgan County Courthouse, 300 West State Street
                                      City, State, ZIP: Jacksonville, IL 62650


          STOP!           Witness this Date:


                                                                                         f-LAIkB
The Circuit Clerk will
fill in this section.
                          Clerk of the Court:




        STOP!             This Summons must be served within 30 days of its date, listed above.
The officer or process
server will fill in the
Date of Service.
                          Date of Service:
                                               (Date to be entered by an officer or process server on the copy of this Summons left
                                               with the Defendant/Respondent or other person.)



                          To serve this Summons, you must hire the sheriff (or a private process server outside of Cook County) to
                          deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or private process
                          server outside of Cook County) tries but can't serve the Summons, fill out another summons and repeat this
 Plaintiff/Petitioner:    process.




                          E-Filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                          create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
       Attention:
                          to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit
                          http://www.illinoiscourts.gov/faq/gethelp.asp. or talk with your local circuit clerk's office.




SU-S 1503.1                                                    Page 2 of 4                                                          (09/18)

                                                             Ex. A, pg 25
               Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 27 of 36 PageID #:37
          This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.

         STATE OF ILLINOIS,
          CIRCUIT COURT                           AFFIDAVIT OF SERVICE OF
                                                       SUMMONS AND
   Morgan                  COUNTY                   COMPLAINT/PETITION

    Instructions
Enter above the
county name where
the case was filed.       Nathaniel Timmons, et al.
Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the name of the
person you are suing as    V.
Defendant/Respondent.
Enter the Case            Lytx, Inc. and Gemini Motor Transport, L.P.                                  2021L26
Number given by the        Defendant / Respondent (First, middle, last name)                            Case Number
Circuit Clerk.


                           **Stop. Do not complete the form. The sheriff will fill in the form.**

DO NOT complete            My name is                                                                         and I swear under oath
this section. The                             First, Middle, Last
sheriff will complete
                           that I served the Summons and Complaint/Petition on the Defendant/Respondent
it.

                                                                                                    as follows:
                           First, Middle, Last

                                 111   Personally on the Defendant/Respondent:
                                       Male: 111       Female:       Approx. Age:                         Hair Color:
                                       Height:            Weight:
                                       On this date:                      at this tirne:                                  a.m.   p.m.
                                       Address:
                                       City, State, ZIP:

                                 111   At the Defendant/Respondent's home:
                                       On this date:                     at this time:                                  Ela.m.   p.m.
                                       Address:
                                       City, State, ZIP:
                                       And left it with:
                                                             First, Middle, Last
                                       Male: 111     Female:            Approx. Age:
                                       and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                       above address on                       , 20

                                       On the Corporation's agent,
                                                                              First, Middle, Last
                                       On this date:                                  at this time:                       a.m.
                                       Address:
                                       City, State, ZIP:




SU-S 1503.1                                                         Page 3 of 4                                                  (09/18)
                                                               Ex. A, pg 26
              Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 28 of2021L26
                                                                             36 PageID #:38
                                          Enter the Case Number given by the Circuit Clerk:

DO NOT complete        By:
this section. The
sheriff, or private
process server will
complete it.          Signature                                        FEES
                                                                       By certified/ registered   $
                                                                       Service and Return         $
                      Print Name                                       Miles:                     $
                                                                       Total      $




SU-S 1503.1                                        Page 4 of 4                                        (09/18)


                                                 Ex. A, pg 27
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 29 of 36 PageID #:39




             IN THE CIRCUIT COURT OF MORGAN COUNTY, ILLINOIS

 NATHANIEL TIMMONS, individually and on
 behalf of himself all others similarly situated,        Case No.
        Plaintiff
        V.


 LYTX, INC., a Delaware corporation, and
 GEMINI MOTOR TRANSPORT, L.P, an                         Jury Trial Demanded
 Oklahoma company

        Defendants.

                                   RULE 222(b) AFFIDAVIT

       Pursuant to Illinois Supreme Court Rule 222(b), Plaintiff advises that this matter seeks

more than $50,000.00 in damages.


Dated: December 29, 2021


Respectfully Submitted:

By: /s/ Brandon M Wise
Brandon M. Wise — IL Bar # 6319580
Paul A. Lesko — IL Bar # 6288806
Adam Florek — IL Bar # 6320615
PUFFER WOLF CARR KANE & CONWAY, LLP
818 Lafayette Ave., Floor 2
St. Louis, MO 63104
Ph: 314-833-4825
Email: bwise@peifferwolf.com
Email: plesko@peifferwolf.com
Email: aflorek@peifferwolf.corn

COUNSEL FOR THE PLAINTIFF AND THE PUTATIVE CLASS




                                               1

                                          Ex. A, pg 28
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 30 of 36 PageID #:40




             IN THE CIRCUIT COURT OF MORGAN COUNTY, ILLINOIS

 NATHANIEL TIMMONS, individually and on
 behalf of himself all others similarly situated,         Case N12021 L26

                                                                                      FILED
                                                                                  12/29/2021 10:36 AM
        V.                                                                           AMY SIPES
                                                                              CLERK OF THE CIRCUIT COURT
 LYTX, INC., a Delaware corporation, and                                        MORGAN COUNTY, ILLINOIS
 GEMINI MOTOR TRANSPORT, LP, an                           Jury Trial Demanded
 Oklahoma company

        Defendants.


                                        JURY DEMAND

       Plaintiff Nathaniel Timmons hereby requests trial by jury on all issues so triable.



Dated: December 29, 2021


Respectfully Submitted:
By: /s/Brandon M Wise
Brandon M. Wise — IL Bar #6319580
Paul A. Lesko — IL Bar # 6288806
Adam Florek — IL Bar # 6320615
PEIFFER WOLF CAR KANE & CONWAY, LLP
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Ph: 314-833-4825
Email: bwise@peifferwolf com
Email: plesko@peifferwolf.com
Email: aflorek@peifferwolf.com

COUNSEL FOR THE PLAINTIFF AND THE PUTATIVE CLASS




                                           Ex. A, pg 29
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 31 of 36 PageID #:41




              IN THE CIRCUIT COURT OF MORGAN COUNTY, ILLINOIS

 NATHANIEL TIMMONS, individually and on
 behalf of himself all others similarly situated,                                       FILED
                                                                                   1/7/2022 9:18 AM
         Plaintiff                                                                    AMY SIPES
                                                                               CLERK OF THE CIRCUIT COURT
                                                                                MORGAN COUNTY, ILLINOIS
         V.
                                                            Case No. 2021L26
 LYTX, INC., a Delaware corporation, and
 GEMINI MOTOR TRANSPORT, L.P, an
 Oklahoma company
                                                            Jury Trial Demanded
         Defendants.


     PLAINTIFF'S MOTION FOR CLASS CERTIFICATION AND REQUEST FOR
                  DISCOVERY ON CERTIFICATION ISSUES

       In this case, Plaintiff Nathaniel Timmons ("Plaintiff') alleges that Defendant Lytx, Inc.

and Gemini Motor Transport, L.P. ("Defendants") systematically violated the Biometric

Information Privacy Act ("BIPA"), 740 ILCS 14/1, et seq. This case is well suited for class

certification pursuant to 735 ILCS 5/2-801. Specifically, Plaintiff seeks to certify a class consisting

of several hundred or more individuals who had their biometrics collected, captured, and/or stored

by Defendants in the State of Illinois during the applicable statutory period in violation of BIPA.

The question of liability is a legal question that can be answered in one fell swoop. As Plaintiffs

claims and the claims of similarly-situated individuals all arise from Defendants' uniform policies

and practices, they satisfy the requirement of 735 ILCS 5/2-801 and should be certified. Notably,

to Plaintiffs Counsels' knowledge, the only BIPA class certification decisions issued to date have

granted class certification. See, In re Facebook Biometric Info. Privacy Litig., 326 F.R.D. 535

(N.D. Cal. 2018) (granting class certification) aff'd Patel V. Facebook, Inc., 932 F.3d 1264 (9th

Cir. 2019); and Ex. A, Mem. and Order, Roberson v. Symphony Post Acute Care Network, et al.,

17-L-733 (St. Clair County) (same).




                                             Ex. A, pg 30
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 32 of 36 PageID #:42




       Plaintiff moves for class certification to protect members of the proposed class, individuals

whose proprietary and legally protected personal and private biometric data was invaded by

Defendants. Plaintiff believes that the evidence and argumentation submitted with this motion are

sufficient to allow the class to be certified now. However, in the event the Court (or Defendants)

wishes for the parties to undertake formal discovery prior to the Court's consideration of this

motion, Plaintiff requests that the Court allow Plaintiff to supplement briefing and defer the

response and reply deadlines.

                                I.   RELEVANT BACKGROUND

           A. The Biometric Information Privacy Act

       Major national corporations started using Chicago and other locations in Illinois in the

early 2000s to test "new [consumer] applications of biometric-facilitated financial transactions,

including finger-scan technologies at grocery stores, gas stations, and school cafeterias." 740 ILCS

14/5(c). Given its relative infancy, an overwhelming portion of the public became wary of this

then-growing, yet unregulated, technology. See 740 ILCS 14/5.

       The Biometric Information Privacy Act, 740 ILCS 14/1, et seq. was enacted in 2008,

arising from concerns that these experimental uses of finger-scan technologies created a "very

serious need of protections for the citizens of Illinois when it comes to biometric information."

Illinois House Transcript, 2008 Reg. Sess. No. 276. Under the Act, it is unlawful for a private

entity to, among other things, "collect, capture, purchase, receive through trade, or otherwise

obtain a person's or a customer's biometric identifiers or biometric information unless it first:

                   (1) Informs the subject . . . in writing that a biometric identifier or
                       biometric information is being collected or stored;

                   (2) Informs the subject. . . in writing of the specific purpose and length
                       of term for which a biometric identifier or biometric information is
                       being collected, stored, and used; and



                                                 2
                                            Ex. A, pg 31
   Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 33 of 36 PageID #:43




                   (3) Receives a written release executed by the subject of the biometric
                       identifier or biometric information."

740 ILCS 14/15(b).

       Although there may be benefits with using biometrics, there are also serious risks.

Biometrics, including facial scans, are unique, permanent biometric identifiers associated with

each individual. These biometrics are biologically unique to the individual; once compromised,

the individual has no means by which to prevent identity theft, unauthorized tracking, or other

unlawful or improper use of this information. This exposes individuals to serious and irreversible

privacy risks. For example, if a biometric database is hacked, breached, or otherwise exposed — as

in the recent Equifax and Uber data breaches — individuals have no means to prevent the

misappropriation and theft of their proprietary biometric makeup. Thus, recognizing the need to

protect its citizens from harms like these, Illinois enacted BIPA specifically to regulate the

collection, use, safeguarding, handling, storage, retention, and destruction of biometric identifiers

and information.

           B. Factual Alle2ations

       Plaintiff filed this class action against Defendants on December 29, 2021, to redress

Defendants' unlawful collection, use, storage, and disclosure of biometric information of Illinois

citizens under BIPA. In his Class Action Complaint, Plaintiff provided allegations that Defendants

have and continue to violate BIPA through the collection of their biometrics without: (1) informing

individuals in writing of the specific purpose and length of term for which they would collect, store

and use the biometric identifiers and or biometric information obtained from Defendants' devises

that were used to recognize their faces; (2) failing as private entities that collect biometrics to

publicly publish their written retention schedules and guidelines for permanently destroy the




                                                 3
                                            Ex. A, pg 32
    Case: 1:22-cv-05068 Document #: 1-1 Filed: 02/11/22 Page 34 of 36 PageID #:44




biometrics they collected; and (3) obtaining a written release, as required by BIPA. See Complaint

("Compl.") at el 7-8, 9, 61, 66, 72.

         Accordingly, Defendants' practices violated BIPA. As a result of Defendants' violations,

Plaintiff and similarly-situated individuals were subject to Defendants' uniform policies and

practices and were victims of its scheme to unlawfully collect, store, and use individuals' biometric

data in direct violation of BIPA.

         Plaintiff now seeks class certification for the following similarly-situated individuals,

defined as:

         Lytx Class: All individuals who, while present in the State of Illinois, had their
         biometric information and/or biometric identifiers, including their face geometry,
         collected, captured, used, transmitted, disseminated, stored or otherwise obtained
         by Lybc.

         GMT Class: All individuals who, while present in the State of Illinois, had their
         biometric information and/or biometric identifiers, including their face geometry,
         collected, captured, used, transmitted, disseminated, stored or otherwise obtained
         by GMT.

Id. at 'ff 51.

         Given Defendants' standard practices defined above and the straightforward and common

legal questions presented in this case, Plaintiff now moves for class certification. Notably, this

motion is being filed shortly after the Complaint was filed and before the Defendants have

responded. For the reasons discussed herein, Plaintiff's request should be granted.

                       IL    STANDARD FOR CLASS CERTIFICATION

         "The basic purpose of a class action is the efficiency and economy of litigation." CE Design

Ltd. v. C& T Pizza, Inc., 2015 IL App. (1st) 131465, 4119 (Ill. App. Ct. May 8,2015) (citing Miner

v. Gillette Co., 87 Ill. 2d 7, 14 (1981)). "In determining whether to certify a proposed class, the

trial court accepts the allegations of the complaint as true and should err in favor of maintaining




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                                             Ex. A, pg 33
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class certification." CE Design Ltd., 2015 IL App. (1st) 131465, ill 9 (citing Ramirez v. Midway

Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (2007)). Under Section 2-801 of the Code of Civil

Procedure, a class may be certified if the following four requirements are met:

        (1) the class is so numerous that a joinder of all members is impracticable;

        (2) there are questions of fact or law common to the class that predominate over any
            questions affecting only individual members;

        (3) the representative parties will fairly and adequately protect the interest of the class; and

        (4) the class action is an appropriate method for the fair and efficient adjudication of the
            controversy.

See Smith v. Illinois Cent. R.R. Co., 223 Ill. 2d 441, 447 (2006) (citing 735 ILCS 5/2-801). Notably,

"[a] trial court has broad discretion in determining whether a proposed class meets the

requirements for class certification." CE Design Ltd., 2015 IL App. (1st) 131465, ¶ 9 (citing

Ramirez, 378 Ill. App. 3d at 53). Here, the allegations and facts in this case amply demonstrate

that the four certification factors are met.

                                        III.     ARGUMENT

        Plaintiff's claims here are especially suited for class certification because Defendants

treated all class members identically for the purposes of applying BIPA. All of the putative class

members in this case were uniformly subjected to the same illegal and unlawful collection, storage,

and use of their biometric data by Defendants throughout the class period. Plaintiff meets each of

the statutory requirements for maintenance of this suit as a class action. Thus, the class action

device is ideally suited and is far superior to burdening the Court with many individual lawsuits to

address the same issues, undertake the same discovery, and rely on the same testimony.




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                                               Ex. A, pg 34
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       A.      The Class Is So Numerous That Joinder of All Members Is Impracticable.

       Numerosity is not dependent on a plaintiff setting forth a precise number of class members

or a listing of their names. See Cruz v. Unilock Chicago, 383 Ill. App. 3d 752, 771 (2d Dist. 2008)

("Of course, plaintiffs need not demonstrate a precise figure for the class size, because a good-

faith, nonspeculative estimate will suffice; rather, plaintiffs need demonstrate only that the class is

sufficiently numerous to make joinder of all of the members impracticable.") (internal citations

omitted); Hayna v. Arby's, Inc., 99 III. App. 3d 700, 710-11 (1st Dist. 1981) ("It is not necessary

that the class representative name the specific individuals who are possibly members of the

class."). Courts in Illinois generally find numerosity when the class is comprised of at least 40

members. See Wood River Area Dev. Corp. v. Germania Fed. Say. Loan Ass 'n, 198 Ill. App. 3d

445, 450 (5th Dist. 1990).

       In the present case, there can be no serious dispute that Plaintiff meets the numerosity

requirement. The class of potential plaintiffs is sufficiently large to make joinder impracticable.

As result of Defendants' violations of BIPA, Plaintiff and all similar-situated individuals were

subject to Defendants' uniform policies and practices and were victims of Defendants' schemes to

unlawfully collect, store and use their extremely personal and private biometric data in direct

violation of BIPA. The precise number in the class cannot be determined until discovery records

are obtained from Defendants. Nevertheless, class membership can be easily determined by

reviewing Defendants' records. A review of Defendants' files regarding the collection, storage and

use of biometric data performed during the class period is all that is needed to determine

membership in Plaintiff's proposed classes. See e.g., Chultern v. Ticor Title Ins. Co., 401 Ill. App.

3d 226, 233 (1st Dist. 2010) (reversing Circuit Court's denial of class certification and holding

that class was certifiable over defendants' objection that "the proposed class was not ascertainable,




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                                             Ex. A, pg 35
